Case 1:11-cv-07550-GBD-SN Document 320-9 Filed 02/22/20 Page 1 of 9

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

x
IN RE TERRORIST ATTACKS ON SEPTEMBER 11, 2001:

: MOTION TO PERMIT
ATTACHMENT AND
EXECUTION PURSUANT
TO 28 U.S.C. §1610(c)

03 MDL 1570 (GBD) (SN)

This Document Relates to
Hoglan, et al. v. Iran, et al.
1:11-ev-07550 (GBD) (SN)

EXHIBIT Hf

Case 1:11-cv-07550-GBD-SN Document 320-9 Filed.Q22220.Page.2-669

Case 1:11-cv-07550-GBD-SN Document 294 Filed 01/2éét& spage 1 of 3
DOCUMENT

ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT poc #
Hogan et al.
y CERTIFICATE OF MAILING
Case No.: llev7550(GBD\(SN) . - _, »
fran etal O3KO ST AaS)(SW)

I hereby certify under the penalties of perjury that on the _24 __ day of January , 2019, I

served: Ayatollah ali hoseini-Khamenei c/o H.E. Mohammad Javad Zarif, Foreign Minister of the Islamic

Republic of Iran, Ministry of Foreign Affairs of the Islamic Republic of Iran, Imam Khomeini Avenue,

Tehran Iran

LI the individual of the foreign state, pursuant to the provisions of FRCP 4(f)2(c)(ii).

C] the head of the ministry of foreign affairs, pursuant to the provisions of the Foreign
Sovereign Immunities Act, 28 U.S.C. § 1608(a)(3).

the Secretary of State, Attn: Director of Consular Services, Office of Policy Review and

Inter-Agency Liaison (CA/OCS/PRD), U.S. Department of State, SA-29, 4" Floor, 2201 C Street NW,
Washington, DC 20520, pursuant to the provisions of the Foreign Sovereign Immunities Act, 28 U.S.C.
§ 1608(a)(4).

LI the head of the agency or instrumentality of the foreign state, pursuant to the provisions
of the Foreign Sovereign Immunities Act, 28 U.S.C. § 1608(b)(3)(B).

2__ copy(ies) of the See Attached Rider

by Fedex 774207892460.

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Case 1:11-cv-07550-GBD-SN Document 320-9 Filed 02/22/20 Page 3 of 9
Case 1:11-cv-07550-GBD-SN Document 294 Filed 01/24/19 Page 2 of 3

Rider to Clerk Certificate of Mailing
Case No. 11cv7550{(GBD}(SN)

DOCUMENTS MAILED:

Cover Letter to Mohammad Javad Zarif, Foreign Minister of the Islamic Republic of fran;
U.S. District Court for the Southern District of New York Clerk’s Certificate of Default,
dated March 17, 2015 {Hoglan Docket No. 89);

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Memorandum Decision and Order entered by U.S. District Judge George B. Daniels on
June 21, 2017 (MDL Docket No. 3633);

Report and Recommendation #4 by U.S. Magistrate Judge Sarah Netburn, dated August
8, 2017 {Hogian Docket No. 219);

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Right to Appeal Notice; and

Right to Appeal Form

Certified Farsi Translations of all the above documents along with affidavits of
translators

Letters of Rogatory

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Case 1:11-cv-07550-GBD-SN Document 294 Filed 01/24/19 Page 3 of 3
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Case 1:11-cv-07550-GBD-SN Document 320-9 Filed 02/22/20 Page 5 of 9
Case 1:11-cv-07550-GBD-SN Document 295 Filed Olpasrro™ rat rors

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UNITED STATES DISTRICT COURT pDOC#
SOUTHERN DISTRICT OF NEW YORK DATE FILED:
Hogan, et al.

Plaintifi(s)

ne CERTIFICATE OF MAILING

Islamic Republic of Iran, et al., Line NO: 1:11 ev 07550,(GBD) (SN) s}

Defendant(s) US me She Tee ee

| hereby certify under the penalties of perjury that on the 25 day of January , 2019 , I served:

National Iranian Oil Corporation c/o H.E Mohammad Javad Zarif, Foreign Minister of the Islamic

Republic of Iran, Ministry of Foreign Affairs of the Islamic Republic of Iran, Imam Khomeini Avenue

Tehran, fran.

LJ the individual of the foreign state, pursuant to the provisions of FRCP 4(f)2(c)Gi).

CO the head of the ministry of foreign affairs, pursuant to the provisions of the Foreign
Sovereign Immunities Act, 28 U.S.C. § 1608(a)(3).

the Secretary of State, Attn: Director of Consular Services, Office of Policy Review and

Inter-Agency Liaison (CA/OCS/PRD), U.S. Department of State, SA-29, 4" Bloor, 2201 C Street NW,
Washington, DC 20520, pursuant to the provisions of the Foreign Sovereign Immunities Act, 28 U.S.C.
§ 1608(a)(4).

LC] the head of the agency or instrumentality of the foreign state, pursuant to the provisions
of the Foreign Sovereign Immunities Act, 28 U.S.C. § 1608(b)(3)(B).

2 copy(ies) of the___See Attached Rider by Federal Express # 7742 0789 3011 _.

Dated: New York, New York

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_ Case 1:11-cv-07550-GBD-SN Document 295 Filed 01/24/19 Page of 3

Rider

(1) Cover Letter to Mohammad Javad Zarif, Foreign Minister of the Islamic Republic of lran;

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(16) Text of the Foreign Sovereign Immunities Act, 28 U.S.C. §1602, et seq.;

(17} Right to Appeal Notice;

(18} Right to Appeal Form; :

(19) Certified Farsi translation of the above documents along with affidavit of translator; and

(20) Letters of Rogatory

Case 1:11-cv-07550-GBD-SN Document 320-9 Filed 02/22/20 Page 7 of 9

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limited to the greater of $100 or the authorized declared value. Recovery cannot exceed aciual documented loss.Maximum for items of
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claims must be filed within strict time limits, see current FedEx Service Guide.

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UNITED STATES DISTRICT COURT DOC #

SOUTHERN DISTRICT OF NEW YORK DATE FILED:

Hoglan, et al.
v. CERTIFICATE OF MAILING

Iran, et al., Case No.: 11-cv-07550 (GBD) (SN)
03-md-01570 (GBD) (SN)

{ hereby certify under the penalties of perjury that on the 24 day of January, 2019, I served:

National franian Gas Company, c/o H.E, Mohammad Javad Zarif. Foreign Minister of the Islamic

Republic of Iran, Ministry of Foreign Affairs of the Islamic Republic of fran, Imam Khomeini Avenue,

Tehran, Iran

CJ the individual of the foreign state, pursuant to the provisions of FRCP 4(#)2(c)Gi).

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Two copy(ies) of the __see attached rider

by Federal Express #774207892953

Dated: New York, New York

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Case 1:11-cv-07550-GBD-SN Document 297 Filed 01/24/19 Page 2 of 3

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